                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


The State of Ohio;
and
The State of Tennessee,

              Plaintiffs,
                                                           Case No. 2:15-cv-02467
v.
                                                           Judge Sargus
United States Army Corps of Engineers;
United States Environmental Protection                     Magistrate Judge King
Agency; The Honorable Jo-Ellen Darcy
in her official capacity as Assistant
Secretary of the Army (Civil Works); and
The Honorable Gina McCarthy in her
official capacity as Administrator, U.S. E.P.A.

              Defendants.


                            PLAINTIFFS’ NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs the State of Ohio and the State of Tennessee appeal

to the United States Court of Appeals for the Sixth Circuit from the Order denying a Preliminary

Injunction (Doc. 86) entered on March 26, 2019. A copy of the Order is attached as Exhibit A.
Respectfully submitted,

DAVE YOST (0056290)
Ohio Attorney General

/s/Lawrence Helkowski

LAWRENCE HELKOWSKI* (0068622)
 *Trial Counsel (for all Plaintiffs)
Assistant Attorney General
30 E. Broad Street, 25th Floor
Columbus, OH 43215
614-466-2766 – Telephone
Lawrence.Helkowski@OhioAttorneyGeneral.gov

/s/Jonathan D. Blanton

JONATHAN D. BLANTON (0070035)
Assistant Attorney General
30 E. Broad Street, 17th Floor
Columbus, OH 43215
614-728-1171 – Telephone
Jonathan.Blanton@OhioAttorneyGeneral.gov

/s/Amber Wootton Hertlein

AMBER WOOTTON HERTLEIN (0083858)
Assistant Attorney General
30 E. Broad Street, 25th Floor
Columbus, OH 43215
614-466-2766 – Telephone
Amber.Hertlein@OhioAttorneyGeneral.gov

Counsel for Plaintiff State of Ohio



HERBERT H. SLATTERY III
Tennessee Attorney General and Reporter

BARRY TURNER
Deputy Attorney General

ELIZABETH P. McCARTER (10531)
Senior Assistant Attorney General
Office of the Attorney General and Reporter
                                              Environmental Division
                                              P.O. Box 20207
                                              Nashville, TN 37202
                                              615-532-2582 – Telephone
                                              615-741-8724 – Facsimile
                                              lisa.mccarter@ag.tn.gov

                                              Counsel for Plaintiff State of Tennessee


                                CERTIFICATE OF SERVICE

       This will certify that the foregoing was filed electronically on May 28, 2019. This filing

will be sent to all parties by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.


                                              /s/ Lawrence S. Helkowski

                                              LAWRENCE S. HELKOWSKI (0068622)
                                              Assistant Attorney General
